Case: 6:17-cr-00014-GFVT-HAI            Doc #: 147 Filed: 08/17/17         Page: 1 of 3 - Page
                                           ID#: 688



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )    No. 6:17-CR-14-SS-6-GFVT-HAI
                                                )
v.                                              )
                                                ) RECOMMENDATION OF ACCEPTANCE
JORDAN NAPIER                                   )           OF GUILTY PLEA
                                                )
       Defendant.                               )

                                      *** *** *** ***


       On referral the Court conducted a rearraignment of Defendant Jordan Napier. On August

17, 2017, Defendant appeared before the undersigned for proceedings under Rule 11, following

Defendant=s motion for rearraignment.

       As established and particularly detailed on the record:

       1.     After the Court informed Defendant of his/her right to rearraignment in the

              presence of a United States District Judge, Defendant personally consented to

              rearraignment before a United States Magistrate Judge. Defendant further

              consented to the Magistrate Judge conducting the Rule 11 hearing and making a

              recommendation concerning plea acceptance. The consent occurred orally and in

              writing and was under oath. The consent was knowing, voluntary, and intelligent

              and occurred with counsel=s advice. The United States also consented.

       2.     The Court placed Defendant under oath and performed the full colloquy as

              required by Rule 11. As set forth in the record, after the colloquy, the Court found

                                                1
Case: 6:17-cr-00014-GFVT-HAI        Doc #: 147 Filed: 08/17/17          Page: 2 of 3 - Page
                                       ID#: 689



           Defendant competent to plead. Additionally, after advising Defendant of all

           applicable rights, covering the plea agreement (to include a partial waiver of

           appeal and collateral attack), and assuring Defendant=s awareness of the nature of

           and all potential maximum (and mandatory minimum) penalties applicable to the

           charge at issue, as well as the sentencing process, the Court further found that

           Defendant pled guilty in a knowing, voluntary, and intelligent fashion.

     3.    Further, an adequate factual basis supporting the plea as to each essential offense

           element for the applicable charge was presented. The Court covered all areas and

           confirmed Defendant=s understanding of all matters required in the context by

           Rule 11, the criminal rules, and the United States Constitution.

     4.    As such, and based on the Court=s findings, the Court RECOMMENDS that the

           presiding District Judge ACCEPT the guilty plea of Jordan Napier and

           ADJUDGE him/her guilty of Count One of the Second Superseding Indictment.

     5.    The Court informed the parties that the District Judge would defer acceptance of

           the plea agreement pending consideration as part of final sentencing.

     6.    The jury trial for this Defendant is CONTINUED GENERALLY pending the

           District Judge’s consideration of this Recommendation. See 18 U.S.C. §

           3161(h(1)(D), (G), (H). The presiding District Judge will schedule a sentencing

           hearing and address Defendant’s custodial status when considering this

           Recommendation. The Court notes that Defendant was released following the

           Rule 11 hearing, but is subject to mandatory detention upon an adjudication of

           guilty pursuant to 18 U.S.C. § 3143(a)(2).


                                             2
Case: 6:17-cr-00014-GFVT-HAI            Doc #: 147 Filed: 08/17/17          Page: 3 of 3 - Page
                                           ID#: 690



                                          Right to Object

       Defendant has the right to object to this Recommendation and to secure de novo review

from the District Judge as to any matter to which he specifically objects and seeks review. Given

the need for prompt case disposition and the requirements of the Speedy Trial Act, the Court

FINDS that good cause exists pursuant to Rule 59(b)(2) to modify the standard objections

period. Therefore, within THREE days after being served with a copy of this decision, a party

may serve and file specific written objections to any or all findings or recommendations for

determination, de novo, by the District Court. Failure to make timely objection, in the manner

described, may, and normally will, result in waiver of further appeal to or review by the District

Court and Court of Appeals with respect to the particular decision at issue. See Thomas v. Arn,

106 S. Ct. 466 (1985); United States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981).

       This the 17th day of August, 2017.




                                                 3
